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                                 MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF ARIZONA – FLAGSTAFF
U.S. Magistrate Judge: Camille D. Bibles        Date: November 14, 2022
USA v. Steven Arthur Martis                     Case Number: CR-21-08043-001-PCT-DJH

Assistant U.S. Attorney: Wayne Venhuizen for Kristen Brook
Attorney for Defendant: Roberta J. McVickers, CJA
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released ☒ Custody ☐ Summons ☐ Writ

INITIAL APPEARANCE – REVOCATION HEARING HELD RE: PETITION FOR
VIOLATION OF SUPERVISED RELEASE
Date of Arrest: November 10, 2022
☒ Financial Affidavit taken; Defendant sworn as to financial status.
☒ Appointing attorney Roberta J. McVickers, CJA, on behalf of the defendant for Flagstaff proceedings
   only.
☒ Defendant shall be temporarily detained in the custody of the United States Marshal.
OTHER: Petition to Revoke shall be unsealed.

Detention Hearing and Status Hearing regarding Preliminary Revocation Hearing set for
Thursday, November 17, 2022 at 9:00 a.m. before Magistrate Judge Camille D. Bibles at 123 N. San
Francisco Street, Flagstaff, Arizona.

Recorded By Courtsmart                                                        IA    5 min
Deputy Clerk Christina Davison
                                                                              Start: 10:42 am
                                                                              Stop: 10:47 am
